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 4                             UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6                                                    ***
 7   UNITED STATES OF AMERICA,           )
                                         )
 8                     Plaintiff,        )                    Case No. 2:10-cr-547-RLH-PAL
                                         )
 9         vs.                           )                            ORDER
                                         )                   (Motion to Quash Warrant–#582)
10   SHAWN NEWKIRK,                      )
                                         )
11                     Defendant.        )
     ____________________________________)
12

13                  Defendant Shawn Newkirk has filed a Motion to Quash Warrant (#582, filed May 18,
14   2012), together with a Supplemental to Motion to Quash Warrant (#585, filed May 31, 2012). The
15   Government filed a Response (#587, filed June 5, 2012) in opposition thereto.
16                  The warrant in question was issued because of Newkirk’s alleged violations of
17   conditions of release by drinking beer on two or three separate occasions. Defendant Newkirk had
18   back surgery scheduled for May 24, 2012, and wished to be able to proceed with the surgery. The
19   Supplemental Motion advised that the back surgery was cancelled because Medicare refused to pay
20   for the surgery, but that a second opinion was being sought and the U.S. Marshal was not inclined to
21   bring Newkirk, who lives and is supervised in Alaska, to Nevada in his current condition.
22                  The issue is moot, however, because the warrant has already been executed. Newkirk
23   appeared before the Magistrate Judge in Alaska and was released on conditions, one of which was
24   that he appear in Nevada to face the allegations of violations of his supervised release. The only issue
25   remaining is when he should appear in Nevada to answer for the violations. The Government urges
26   the Court to set a hearing, presumably before the scheduled August 3, 2012 sentencing hearing.

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 1                  Because Newkirk lives in Alaska and the nature of the release violations do not pose a

 2   threat to the public, the Court feels it is prudent to avoid the expense or inconvenience of bringing

 3   Newkirk to Nevada more often than necessary.

 4                  IT IS THEREFORE ORDERED that Newkirk’s Motion to Quash Warrant (#582) and

 5   Supplemental to Motion to Quash Warrant (#585) are denied, as moot.

 6                  IT IS FURTHER ORDERED that Newkirk shall appear before this Court to face the

 7   petition charging violations of his release conditions on the same day and at the same time as his

 8   sentencing, unless there are further violations of his conditions of release.

 9                  Dated: June 6, 2012.

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12                                                           United
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